Case 3:17-cr-OOl47-T.]C-PDB Document 14 Filed 08/22/17 Page 1 of 1 Page|D 20

F|I_ED IN UPEN CUURT

United States District Coui‘t JACKSONV|LLE, FLOR|DA
Middle Disti'ict of Floi'ida
Jacksonville Division S{ZL! ['7
U.S. DISTR|CT CUUF¢T
UNITED ST*ATES OF AN[ERICA MIDDLE DlSTmCT UF FLOR|DA
v. NO. 3:17-cr-147-J-32PDB

MIGUEL PACHECO-LOPEZ

 

Notice of Acceptance of General Discovery

The defendant, through counsel, accepts general discovery under the

WJ‘HC %)r. iQ/w/wi

Attorri/eg for erndant

Court's standing discovery order.

Certif'icate of Service

l certify that I have hand-delivered a copy of this notice to Chip
Corsmeier, Assistant United States Attorney, 300 Noi"th Hogan St., Ste. 7'100,
Jacksonviile, FL 32202~4270, on August 22, 2017.

 

